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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA

IN RE:

RODY AMET BLANCO                                                              CASE NO.: 19-19090-AJC
                                                                              Chapter 13
Debtors(s),
____________________________/

                                    OBJECTION TO CLAIM
                            IMPORTANT NOTICE TO CREDITOR:
                           THIS IS AN OBJECTION TO YOUR CLAIM

 This objection seeks either to disallow or reduce the amount or change the priority status of the
claim filed by you or on your behalf. Please read this objection carefully to identify which claim
               is objected to and what disposition of your claim is recommended.

     If you disagree with the objection or the recommended treatment, you must file a written
   response WITHIN 30 DAYS from the date of service of this objection, explaining why your
     claim should be allowed as presently filed, and you must serve a copy to the undersigned
  [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE WITH
                       THE RECOMMENDATION IN THIS OBJECTION.

If your entire claim is objected to and this is a chapter 11 case, you will not have the right to vote
to accept or reject any proposed plan of reorganization until the objection is resolved, unless you
                           request an order pursuant to Bankruptcy Rule
                   3018(a) temporarily allowing your claim for voting purposes.

The written response must contain the case name, case number, and must be filed with the Clerk
                           of the United States Bankruptcy Court.


    Claim                     Name of Claimant                     Amount of          Basis for Objection
                                                                    Claim             and Recommended
                                                                                         Disposition

       6                Westbird Village Condominium Assc.          $ 18163.86      Claim was filed after
                                                                                    the bar date of
                                                                                    9/20/2019. Claim
                                                                                    should be stricken and
                                                                                    disallowed.




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             *Notwithstanding the requirements of Bankruptcy Rule 3007, up to five
             objections to claim may be included in one pleading. (See Local Rule
                                          3007-1(C).)




                                      Respectfully Submitted,

                                      MENDEZ LAW OFFICES, PLLC
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                                      By: _________/s/_________________________
                                      DIEGO GERMAN MENDEZ, ESQ.
                                      FL BAR NO.: 52748




               The party filing this objection to claim must file a certificate of service in
                                             accordance with
                                          Local Rule 2002-1(F).




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